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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  LAMARR BETTS, and                                  )
  RENEE BETTS,                                       )
                                                     )
                              Plaintiffs,            )
                                                     )
                         v.                          )       No. 1:18-cv-02923-TWP-TAB
                                                     )
  WAL-MART STORES INC.,                              )
                                                     )
                              Defendant.             )

                 FINAL JUDGMENT PURSUANT TO FED. R. CIV. PRO. 58

         The Court having this day made its Entry directing the entry of final judgment, the Court

  now enters FINAL JUDGMENT.

         Judgment is entered in favor of Defendant Wal-Mart Stores, Inc. and against Plaintiffs

  LaMarr Betts and Renee Betts. This action is TERMINATED.




  Dated: 9/24/2021



  Roger A.G. Sharpe, Clerk of Court


  By: _____________________________
         Deputy Clerk
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